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Washington, DC 20036
ST E K LO F e A LIMITED LIABILITY PARTNERSHIP

February 7, 2025
APPLICATION GRANTED
SO ORDERED
VIA ECF FILING

Honorable John G. Koeltl Wh UCL

United States District Judge 2, John G. Koeltl, U.S.D.9-
(0 1S

Southern District of New York
500 Pearl Street
New York, New York 10007

Re: United States of America v. Visa Inc.; Case No. 1:24-cv-07214 (JGK)

Dear Judge Koeltl:

We represent Visa Inc. in the above-referenced action. When Visa filed its motion to
dismiss, Visa requested that Your Honor allow Visa to file its motion with references to the
substance of those agreements redacted, and to file the unredacted motion and exhibits under seal.
ECF No. 36. Your Honor granted Visa’s request. ECF No. 41. Pursuant to Rule VI.A.2 of Your
Honor’s Individual Practices, we respectfully request the Court’s permission to file Visa’s reply
in support of its motion redacted, and to file the unredacted reply under seal. The redacted language
refers to the same contracts used as exhibits in Visa’s motion to dismiss.

We appreciate the Court’s consideration and would be happy to provide additional briefing
to the Court if necessary.

Respectfully submitted,

/s/ Beth A. Wilkinson

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